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UNITED STATES DISTRICT COURT
for the
District of Arizona

United States of America No. [

v. REDACTED
CRIMINAL COMPLAINT

Levian D. Pacheco

I, the undersigned complainant, being duly sworn, state that the following 1s true and correct to
the best of my knowledge and belief:

Count 1: On or between July 20, 2017, and July 25, 2017, in the District of Arizona, at
Kokopelli Southwest Key Casa in Mesa AZ, which is a facility in which juvenile persons are held in
custody by direction of or pursuant to a contract or agreement with The United States Department of
Health and Human Services, defendant LEVIAN D. PACHECO, did knowingly engage in sexual
contact and cause sexual contact, to wit, the intentional touching, either directly or through the
clothing, of the penis and testicles of John Doe 1, a 17-year-old juvenile male, and done without the
juvenile’s permission with the intent to abuse, arouse or gratify the sexual desire of any person in
violation of Title 18, United States Code, Sections 2244(b) and 2246(3).

Count 2: On or between July 20, 2017, and July 25, 2017, in the District of Arizona, at
Kokopelli Southwest Key Casa in Mesa AZ which is a facility in which juvenile persons are held in
custody by direction of or pursuant to a contract or agreement with The United States Department of
Health and Human Services, defendant LEVIAN D. PACHECO, did knowingly engage in sexual
contact and cause sexual contact, to wit, the intentional touching either directly or through the clothing
of the penis of John Doe 2, a 17-year-old juvenile male, and done without the juvenile’s permission
with the intent to abuse, arouse or gratify the sexual desire of any person in violation of Title 18,
United States Code, Sections 2244(b) and 2246(3).

Count 3: On or between May 1, 2017, and July 25, 2017, in the District of Arizona, at
Kokopelli Southwest Key Casa in Mesa AZ, which is a facility in which Juvenile persons are held in
custody by direction of or pursuant to a Contract or agreement with The United States Department of
Health and Human Services, defendant LEVIAN D. PACHECO, did knowingly engage in sexual
contact and cause sexual contact, to wit, the intentional touching either directly or through the clothing
of the penis of John Doe 3, a 17-year-old juvenile male, and done without the juvenile’s permission

with the intent to abuse, arouse or gratify the sexual desire of any person in violation of Title 18,
United States Code, Sections 2244(b) and 2246(3).

I further state that I am a Special Agent with the United States Department of Health and Human
Services, Office of the Inspector General, Office of Investigations (“HHS-OIG”) and that this

complaint is based on the following facts:

See Attached Statement of Probable Cause Incorporated By Reference Herein.
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Continued on the attached sheet and made a part hereof: XlYes LI No

AUTHORIZED BY: Roger Dokken, Assistant U.S. Attorney

Sworn to before me and signed in my presence.

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City and State: Phoenix, Arizona

Signature of Compldinant

SA Lauren Hanover
Dept. of Health and Human Services - OIG

Office of Investigations
Printed Name and title

Judge’s Signature

Honorable David K. Duncan, U.S. Magistrate Judge
Printed name and title

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
REDACTED

I, Lauren Hanover, being duly sworn, state the following:

BACKGROUND AND EXPERIENCE OF AFFIANT
i, As set forth herein, your Affiant respectfully submits that there is probable cause to
believe that LEVIAN D. PACHECO (DOB XX/XX/1993) has committed acts in violation
of 18 U.S.C. 2244 (b) — Abusive Sexual Contact without Consent: 1. The defendant
knowingly engaged in a sexual contact with the victims. 2. The victims had not given
permission for the sexual contact.
De On or between July 20, 2017 and July 25, 2017, in the District of Arizona, at
Kokopelli Southwest Key Casa in Mesa AZ, which is a facility in which juvenile persons
are held in custody by direction of or pursuant to a contract or agreement with The United
States Department of Health and Human Services, defendant LEVIAN D. PACHECO, did
knowingly engage in sexual contact and cause sexual contact, to wit, the intentional
touching, either directly or through the clothing, of the penis and testicles of John Doe 1, a
17-year-old juvenile male, and done without the juvenile’s permission with the intent to
abuse, arouse or gratify the sexual desire of any person in violation of Title 18, United States
Code, Sections 2244(b) and 2246(3).
3. On or between July 20, 2017 and July 25, 2017, in the District of Arizona, at
Kokopelli Southwest Key Casa in Mesa AZ which is a facility in which juvenile persons are
held in custody by direction of or pursuant to a contract or agreement with The United
States Department of Health and Human Services, defendant LEVIAN D. PACHECO, did
knowingly engage in sexual contact and cause sexual contact, to wit, the intentional touching
either directly or through the clothing of the penis of John Doe 2, a 17-year-old juvenile
male, and done without the juvenile’s permission with the intent to abuse, arouse or gratify
the sexual desire of any person in violation of Title 18, United States Code, Sections 2244(b)
and 2246(3).
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4, On or between May 1, 2017 and July 25, 2017, in the District of Arizona, at Kokopelli
Southwest Key Casa in Mesa AZ, which is a facility in which juvenile persons are held in
custody by direction of or pursuant to a Contract or agreement with The United States
Department of Health and Human Services, defendant LEVIAN D. PACHECO, did
knowingly engage in sexual contact and cause sexual contact, to wit, the intentional touching
either directly or through the clothing of the penis of John Doe 3, a 17-year-old juvenile
male, and done without the juvenile’s permission with the intent to abuse, arouse or gratify
the sexual desire of any person in violation of Title 18, united states Code, Sections 2244(b)
and 2246(3).

5. I am a Special Agent with the United States Department of Health and Human
Services, Office of the Inspector General, Office of Investigations (““HHS-OIG”) and have
been so employed since 1999. I am assigned to the Phoenix Field Office. I am tasked
primarily with criminal investigations involving any of our Department Programs to include
Medicare and Medicaid Fraud and Office of Refuge Resettlement Program Crimes
involving Undocumented Minors at contracted Facilities. I have training and experience in
the enforcement of the laws of the United States, including the preparation and presentation
of arrest warrant affidavits.

6. I make this affidavit based upon personal knowledge derived from my participation
in this investigation, upon my experience as a HHS-OIG agent, and upon information |
believe to be reliable from sources including, among others, the following: (i) oral and ~
written reports about this and other investigations that I have either written or received from
other law enforcement officers and law enforcement agencies; (ii) law enforcement action
as further described below that has already taken place in the criminal proceedings for which
we seek detention of LEVIAN D. PACHECO.

7. This affidavit is submitted in support of the Direct Complaint; it does not set forth
each and every fact known to me or the other investigators about this investigation. Rather,

this affidavit sets forth only those facts necessary to establish the requisite probable cause.
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FACTS TO SUPPORT PROBABLE CAUSE
8. All of the events described in this Affidavit occurred in Mesa Arizona, in the District
of Arizona, unless otherwise described.

PROBABLE CAUSE

9, The Office of Refugee Resettlement (ORR) is a program of the Administration for
Children and Families (ACF), an office within the United States Department of Health and
Human Services (HHS). ORR helps new populations maximize their potential in the United
States by linking them to critical resources that assist them in becoming integrated members
of American society. Unaccompanied alien children apprehended by immigration officials
are transferred to the care and custody of ORR. The age of these individuals, their separation
from parents and relatives, and the hazardous journey they take make unaccompanied alien
children especially vulnerable to human trafficking, exploitation and abuse. The majority
of unaccompanied alien children are cared for through a network of ORR - funded care
providers. Southwest Key Casa Kokopelli in Mesa, Arizona is an ORR federally funded
facility, in which children are held in custody by direction of or pursuant to a contract or
agreement with the head of the United States Department of Health and Human Services.
10. On July 24, 2017, at approximately 1742 hours Mesa Police Department was
dispatched to Southwest Key Casa Kokopelli in reference to a minor being molested.
Officers met with and one of the victims and staff and took statements. During the
investigation, it was learned by Mesa Police Department that there were other victims. The
following are statements taken from the Mesa Police Department narratives that were
developed from Victim Interviews.
ll. On July 25, 2017, at 1634 hours, John Doe 1, a 17-year-old, was interviewed at Mesa
PD. Upon interviewing, John Doe | disclosed one incident on approximately 07/21/17-
07/24/17. Incident was as follows: On one occurrence during the timeframe listed above,
John Doe | went to the bathroom. The bathroom 1s located inside his bedroom that he shared
with five other children. He went to the bathroom at approximately 0200-0400. Upon
finishing and washing his hands, the suspect entered the bathroom and touched John Doe 1

over the clothes on his penis. The suspect used his own hand to touch John Doe 1.
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SIX PACK PHOTO LINEUP
12. John Doe 1 was shown photo line-up #99450 of the suspect, and positively identified
the suspect, LEVIAN PACHECO, as the person who touched him. Joh Doe | expressed fear
and stated that he cried due to this occurring.
13.  OnJuly 25, 2017, at 1741 hours, John Doe 2, a 17-year-old, was interviewed by Mesa
PD. Upon interviewing, John Doe 2 disclosed that on approximately July 24, 2017, he woke
up to go to the bathroom. He believed that it was approximately 0200 hours. John Doe 2
stated that the suspect had went into the bathroom as well, and told him that he would cover
him with a blanket. John Doe 2 stated that he laid down in bed, and the suspect tickled his
chest area and touched him on his penis, over the clothes. John Doe 2 stated he had a
conversation with John Doe | about this, and then reported it due to it happening to someone
else.

SIX PACK PHOTO LINEUP
14. John Doe 2 was also showed photo line-up #99450, and positively identified the
suspect, LEVIAN D. PACHECO, as the person who touched him.
15.  OnJuly 26, 2017, at 1415 hours, John Doe 3, a 17-year-old, was interviewed by Mesa
PD. Upon interviewing, John Doe 3 disclosed two incidents. The first incident occurred
around the date of June 1, 2017, through June 15, 2017. John Doe 3 was cleaning his room
with his roommate, who was identified as Juvenile 1. The suspect, who he knows as Levian,
entered the room and grabbed John Doe 3 over the clothes on his penis. The suspect did this
with his hand. The second incident occurred around July 1, 2017. This was similar to the
first incident, in that John Doe 3 was cleaning his room with his roommate, Juvenile 1. The
suspect entered the room and grabbed John Doe 3 over the clothes on his penis. The suspect
did this with his hand. This time, John Doe 3 told the suspect to stop bothering him and he
would report it if it happened again.
16. Due to John Doe 3 knowing the identity of the subject who touched him, no photo

line-up was shown.
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CONCLUSION
17. Based on the information provided in this affidavit, I respectively submit that there
is probable cause to believe LEVIAN D. PACHECO has violated 18 U.S.C. 2244(b) and
2246(3)

I declare under penalty of perjury under the law of the United States of America that

the foregoing is true and correct.

“eM ta

Lauren Hanover, Special Agent
Department of Health and Human Services
Office of the Inspector General — Office of Investigations

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Subscribed and sworn before me this /' 6 of August, 2017

I find probable cause to believe that the offenses alleged in the Information have been
committed by LEVIAN PACHECO.

HONORABLE DAVID K. DUNCAN
United States Magistrate Judge
